Case: 1:17-md-02804-DAP Doc #: 1934-60 Filed: 07/22/19 1 of 10. PageID #: 99796




                              EXHIBIT 61
Case: 1:17-md-02804-DAP Doc #: 1934-60 Filed: 07/22/19 2 of 10. PageID #: 99797



                                                                      Page 1

 1                      IN THE UNITED STATES DISTRICT COURT
 2                           NORTHERN DISTRICT OF OHIO
 3                                EASTERN DIVISION
 4
                               ~~~~~~~~~~~~~~~~~~~~
 5
 6             IN RE:     NATIONAL PRESCRIPTION             MDL No. 2804
               OPIATE LITIGATION
 7                                                          Case No. 17-md-2804
 8                                                          Judge Dan Aaron
               This document relates to:                    Polster
 9
               The County of Cuyahoga v. Purdue
10             Pharma L.P., et al.
               Case No. 18-OP-45090
11
12                             ~~~~~~~~~~~~~~~~~~~~
13                            Videotaped deposition of
                               THOMAS GILSON, M.D.
14                                      30(b)(6)
15
16                                January 14, 2019
                                        9:07 a.m.
17
18
19                                      Taken at:
20                        Climaco, Wilcox, Peca & Garofoli
21                          55 Public Square, Suite 1950
22                                Cleveland, Ohio
23
24
25                         Renee L. Pellegrino, RPR, CLR

                                 Veritext Legal Solutions
     www.veritext.com                                                  888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1934-60 Filed: 07/22/19 3 of 10. PageID #: 99798


                                                 Page 246                                               Page 248
    1 review. So this paper mentions some things from        1 break, but if you could indulge me, don't go
    2 2013, but I think the gist of the bulk of it is        2 away, Doctor.
    3 about the 2012 review that we did in the office.       3         THE VIDEOGRAPHER: Off the record at
    4     Q. The paper referring to Exhibit 10,              4 3:09 p.m.
    5 right?                                                 5           (Short recess had.)
    6     A. Exhibit 10, yes.                                6         THE VIDEOGRAPHER: Back on the
    7     Q. Okay. Fair enough.                              7 record at 3:10 p.m.
    8         The next bullet point there under              8 BY MR. BORANIAN:
    9 the Heroin Epidemic title is "2013 prospective         9     Q. This is Exhibit 12. Oops. I marked
   10 review of heroin mortality done with ME staff,"       10 the wrong one. Hang on.
   11 et cetera, et cetera, right?                          11            - - - - -
   12     A. Right. We assembled people within              12         (Thereupon, Gilson Deposition
   13 the room at the ME's office in a committee that       13         Exhibit 12, Document Entitled
   14 I called together to review that data, and the        14         "Opioid Crisis Response: Examining
   15 goal was -- for example, in law enforcement we        15         Overdose Deaths at Cuyahoga County
   16 had the sheriffs there, a county officer. He          16         Medical Examiner's Office," with
   17 had a representative who could provide                17         Attached Sheet Bates Numbered
   18 information to us, partly on arrests but mostly       18         CUYAH_001684555 - Marked
   19 on incarceration data, because what we were           19         Confidential, was marked for
   20 trying to do in this was to identify                  20         purposes of identification.)
   21 intervention points, and one of the risk factors      21            - - - - -
   22 for fatal overdose was somebody who was coming        22     Q. This is Exhibit 12, Dr. Gilson.
   23 out of incarceration or a treatment facility.         23 This appears to be a presentation, or maybe a
   24 So that was kind of the makeup of this.               24 poster, with your name on it, along with
   25     Q. So if you go to the next page, we're           25 Dr. Deo. Can you tell us what this is, Doctor?
                                                 Page 247                                               Page 249
    1 talking about a set of 194 overdose fatalities,  1     A. I'm not completely certain, but I
    2 right?                                           2 think this was a poster that Dr. Deo, who is a
    3      A. Right.                                   3 student at the Case Western School of Public
    4      Q. And that's 2013, right?                  4 Health, produced based on research he was doing
    5      A. Right.                                   5 at our office.
    6      Q. And then if you go three more pages,     6     Q. So it's entitled "Opioid Crisis
    7 it says, "PDR Findings." It looks like that      7 Response: Examining Overdose Deaths at Cuyahoga
    8 (indicating).                                    8 County Medical Examiner's Office," with a Bates
    9      A. Yes.                                     9 number noted on the second page as 001684555,
   10      Q. It says here 73 percent of heroin       10 and if you look over at the far right column,
   11 overdose victims had a file with OARRS, right? 11 Doctor, it says, "OARRS Data, Fentanyl Overdose
   12      A. Right. About three-fourths.             12 Deaths February 2017," right?
   13      Q. Now, we've also seen that number, 73 13        A. Right.
   14 percent, in other documents associated with you 14     Q. Is this part of the analysis of
   15 or your office. And when we see that, 73        15 fentanyl deaths in connection with OARRS that
   16 percent of heroin overdoses who had an OARRS 16 you've described before?
   17 file, that refers to this 2013 data set, right? 17     A. Yes.
   18      A. Right.                                  18     Q. It says, "55 fentanyl overdose
   19          MR. BORANIAN: I'm told the phone 19 deaths in February 2017," right?
   20 isn't working. I'm not sure what to do about    20     A. That was one of the worst months in
   21 that.                                           21 Cuyahoga County, yes.
   22          MR. GALLUCCI: I think that's           22     Q. And the fourth bullet point says
   23 probably from before when we heard it right     23 that 41 out of 55 had an OARRS file, right?
   24 before we took a break.                         24     A. That's correct.
   25          MR. BORANIAN: Okay. Let's take a 25           Q. That's about 80 percent, right?

                                                                                         63 (Pages 246 - 249)
                                           Veritext Legal Solutions
  www.veritext.com                                                                              888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1934-60 Filed: 07/22/19 4 of 10. PageID #: 99799


                                                  Page 250                                              Page 252
    1     A. Yes.                                       1 were as short as six months and, at the longest,
    2     Q. Now, you've mentioned earlier in the       2 18 months. So I thought that number -- and this
    3 deposition that same number, 80 percent. Is       3 was one of the reasons I wanted to continue to
    4 this the source for your citation of the 80       4 collect the data -- was potentially an
    5 percent figure?                                   5 underestimate.
    6     A. No.                                        6          When I saw this number, this still
    7     Q. Okay. Has the medical examiner's           7 actually represents, to some extent, a, you
    8 office done any analysis of fentanyl overdose     8 know, initial period look-back of about two
    9 deaths other than what's represented here on      9 years for virtually all of these cases in 2013.
   10 Exhibit 12?                                      10 That was a better look-back period.
   11     A. Yes, we have.                             11      Q. Let me stop you there. When you say
   12     Q. What is the source of your stated         12 "this number," which number?
   13 opinion that 80 percent of fentanyl deaths have 13       A. 73 percent.
   14 a history of prescription medication?            14      Q. Okay. Continue.
   15     A. It's this information. I thought          15      A. Is better data, and that's really
   16 you said 80 percent of our opioid deaths, heroin 16 what we were striving to get to see if we could
   17 deaths.                                          17 tie the heroin crisis back to opioid pain
   18     Q. Maybe I misspoke. I'm sorry,              18 relievers.
   19 Doctor. I haven't looked at the transcript, but  19          At the time we were collecting this
   20 I think you said earlier today that 80 percent   20 data, there was really very little, other than
   21 of fentanyl deaths have a recent history or a    21 anecdotal reports, to say this heroin phase of
   22 history of a prescription drug prescription,     22 the crisis represented a transition.
   23 right?                                           23          In 2013 substance abuse and mental
   24     A. No. What I said earlier today was         24 health services published a bulletin, where they
   25 that approximately 80 percent of the heroin      25 had gone back and talked to actual heroin users
                                                  Page 251                                              Page 253
    1 overdose deaths that we had in that phase of the        1 and said, "How did you get started abusing
    2 crisis had an OARRS file, and that was the 73           2 opioids," and that number was 79.5 percent, 80
    3 percent that I'm referencing here.                      3 percent of those addicts said I started using
    4     Q. Okay. So that's where I'm confused               4 opioid pain relievers. And when they looked the
    5 then. Okay. So what I was seeing for heroin             5 other direction, most of the people who were
    6 deaths is 64 percent based on the 2012                  6 abusing opioid pain relievers said no, I never
    7 retrospective data.                                     7 started with heroin, I'm abusing this substance.
    8     A. Sure.                                            8          So when I saw that number in
    9     Q. I have seen 73 percent based on the              9 conjunction with this -- and this is again as
   10 194 cases in 2013. Doctor, where do you get 80         10 more data is becoming involved -- that's where I
   11 percent of heroin-related deaths have an OARRS         11 draw that number of about 80 percent of our
   12 file?                                                  12 addicted population come from that transition.
   13     A. Sure.                                           13 I can't talk to the people after they died to
   14         My estimate, if I might say, is that           14 ask them how did you get started, but somebody
   15 we estimated approximately 80 percent of the           15 did that, we didn't duplicate that effort, but
   16 heroin overdose victims had a history of               16 we used this data as a support to that to say,
   17 receiving prescription pain relievers. I take          17 listen, almost 80 percent of our overdoses have
   18 that from this data, the 73 percent. And I'm           18 been using prescription opioids, some of them
   19 not parsing that for, you know, this is closer         19 with very long track records and, in fact, you
   20 to what I want.                                        20 know, that number is very close to what's being
   21         The 2012 data, where the 66 percent            21 quoted from the interviews with the living
   22 came from, was actually limited in the time of         22 individuals who are abusing heroin currently.
   23 look-back because we had delay in getting access       23      Q. The 80 percent, then, comes from a
   24 to OARRS to do the look-back. So some of the           24 bulletin that you read, right?
   25 look-backs we did on heroin overdoses in 2012          25      A. From the substance abuse and mental
                                                                                         64 (Pages 250 - 253)
                                           Veritext Legal Solutions
  www.veritext.com                                                                              888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1934-60 Filed: 07/22/19 5 of 10. PageID #: 99800


                                                Page 254                                              Page 256
    1 health services.                                  1 go back to review the original research data. I
    2      Q. Have you reviewed the data upon           2 didn't understand you if that was what you were
    3 which they base that bulletin?                    3 saying.
    4      A. Yes, I did.                               4     Q. Okay. My question was if you had
    5      Q. And what form did that data take?         5 reviewed the data, so I'll ask again.
    6      A. They're interviewing heroin addicts,      6         Did you review the original research
    7 current heroin addicts, with the question that I  7 data for that bulletin?
    8 said, you know, how did you get started abusing 8           MR. BADALA: Objection to form.
    9 opioids, and 80 percent, 79.5 percent said that   9 Outside the scope.
   10 they had started abusing prescription            10     A. No. I reviewed the bulletin and the
   11 medications.                                     11 methods that were spelled out in it.
   12      Q. Did those interviews take into           12         MR. BADALA: Do you have to take a
   13 account whether those individuals had a          13 break or anything?
   14 prescription for the opioid that they say they   14         THE WITNESS: Sure. Okay.
   15 initiated with?                                  15         MR. BADALA: Why don't we take a
   16      A. They talked about non-medical pain       16 five-minute break.
   17 reliever use. I do not know that I remember      17         THE VIDEOGRAPHER: Off the record at
   18 enough detail to say whether they had, in fact, 18 3:19 p.m.
   19 obtained those legally or by diversion.          19             (Recess had.)
   20      Q. So you can't tell from those data        20         THE VIDEOGRAPHER: Back on the
   21 whether the use of prescription opioids was      21 record at 3:26 p.m.
   22 legal or illegal for that population, true?      22 BY MR. BORANIAN:
   23      A. I don't remember exactly the -- what     23     Q. So, Dr. Gilson, we've been
   24 that metric was.                                 24 discussing the investigation of diversion and
   25         The other thing I wanted to add --       25 overprescription and the use of the OARRS
                                                Page 255                                              Page 257
    1     Q. They didn't ask about that in their        1 database. Has the county made any other uses of
    2 survey, did they?                                 2 the OARRS database beyond what we've already
    3     A. Pardon?                                    3 discussed?
    4         MR. BADALA: Were you done?                4          MR. BADALA: Objection to form.
    5     Q. They didn't ask about that in their        5      Q. Not just your office, the whole
    6 survey, did they?                                 6 county.
    7     A. Could I finish the previous thought,       7      A. We're obviously sharing our data at
    8 though?                                           8 these task forces, including the data that we've
    9     Q. Sure.                                      9 gleaned from OARRS -- by "we" in this case, I'm
   10     A. The other thing I wanted to add           10 putting on my medical examiner hat -- and
   11 about that study is they did a ten-year          11 impacts that could have on law enforcement,
   12 look-back. Basically they wouldn't trust the     12 prosecutions, things like that. I can't
   13 addict's memory beyond ten years, so they were 13 necessarily quantitate, but the collaborative
   14 looking back further than we were with our data. 14 effort that we created I think with this data
   15 So I thought that might have explained some of 15 and pointing it back towards opioid pain
   16 the smaller discrepancy, the 73 percent versus 16 relievers I think is kind of a ripple effect of
   17 the 79 percent, but statistically they were very 17 using the OARRS system.
   18 close.                                           18          Specifics in terms of using the
   19     Q. In what form was that data provided       19 OARRS system, I'm aware some jurisdictions use
   20 to you?                                          20 it to identify doctors to sign death
   21     A. What data was that?                       21 certificates. We have not done that.
   22     Q. The data that supported the bulletin      22      Q. Do you know who the OARRS
   23 that you reviewed. You said you reviewed the 23 registrants are within the county, people who
   24 data. In what form was it?                       24 actually have an OARRS access set of
   25     A. I reviewed the bulletin. I didn't         25 credentials?

                                                                                      65 (Pages 254 - 257)
                                          Veritext Legal Solutions
  www.veritext.com                                                                            888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1934-60 Filed: 07/22/19 6 of 10. PageID #: 99801


                                                 Page 258                                               Page 260
    1     A. Within the county itself?                       1 file system for county investigations of
    2     Q. Yes.                                            2 overprescribing of medicine?
    3     A. As county representatives or just               3      A. Again, at our county hospital, with
    4 the whole county?                                      4 the office of opioid affairs that was opened,
    5     Q. As representatives of the county,               5 they review prescribing practices with opioid
    6 for example, the sheriff's office or protective        6 pain relievers with the idea of addressing
    7 services or the medical examiner.                      7 apparent overprescribing with practitioners that
    8     A. I would know that the physicians at             8 they identify.
    9 the county hospital would all have OARRS access        9      Q. When a physician is under
   10 because that was actually part of an initiative       10 investigation for participating in illegal
   11 in 2015, to have all of the medical                   11 diversion, does the county take steps to stop
   12 practitioners have access to OARRS, and then I        12 the behavior during the investigation?
   13 think the pharmacists are similar, that they          13      A. Are we talking -- I'm a little
   14 have to have access, so I would think pharmacy        14 confused -- pill mill scenario or something like
   15 personnel at our county hospital would have           15 that or --
   16 that; jail, by extension, as we covered that,         16      Q. Yeah, any doctor under
   17 would have access. And we in the medical              17 investigation, whether a county employee or
   18 examiner's office. The sheriff, unless it's           18 someone running a pill mill, someone running a
   19 through a law enforcement, which I'm not aware        19 pain clinic. If that doctor is under
   20 of -- I don't know if they do or do not. Other        20 investigation, does the county take any steps to
   21 law enforcement agencies I believe do, but            21 stop the illegal activity while the
   22 they're not county representatives.                   22 investigation is going on?
   23     Q. Does the county sheriff ever                   23      A. I mean, ultimately they would arrest
   24 directly access the OARRS database?                   24 them, I guess, if they were founded in the
   25     A. I do not know. I don't know. As I              25 evidence collection period. I guess until you
                                                 Page 259                                               Page 261
    1 said, they have access. They can have access           1 really know that it's a crime --
    2 through law enforcement.                               2      Q. Short of arresting somebody, is
    3      Q. So other than your office, are you             3 anything done to stop the behavior that is under
    4 aware of any other county office that makes            4 investigation?
    5 direct access to the OARRS database?                   5      A. If I can go back to the county
    6      A. Oh, I'm sorry if I wasn't clear.               6 hospital, the example with the office of opioid
    7 The county hospital has to have that access with       7 affairs there, yes, they are liaisoned with --
    8 its practitioners and its pharmacy.                    8 through the medical staff and the practices are
    9      Q. Anyone else? Any other agencies?               9 described. And I don't think it's an immediate
   10      A. Can I look at the org chart? I                10 you're doing the wrong thing so much as they
   11 can't see anybody here I could say with               11 require an explanation, and if that explanation
   12 certainty has access.                                 12 isn't satisfactory, then they're remediated to,
   13      Q. Is there any database or central              13 you know, prescribing practices, maybe
   14 file system for cases investigating drug              14 reacquaintance with CDC prescribing guidelines
   15 diversion?                                            15 from 2016 or something like that as a basis.
   16          MR. BADALA: Objection to form.               16      Q. Now, Doctor, I'm also going to ask
   17      A. At the county level or --                     17 you about topic number 27, which is "Knowledge
   18      Q. Yes.                                          18 of and access to data concerning prescription
   19      A. Unless it's in the county                     19 opioid manufacturing, prescribing, distribution,
   20 prosecutor's office, I'm not aware of one. I          20 or dispensing." We've already gone through
   21 know they have a unit who would be investigating      21 ARCOS and OARRS and a few others. I'm not going
   22 cases for prosecution, but otherwise, most of         22 to repeat that.
   23 the investigation of diversion and things like        23          So here's my question, Doctor: Are
   24 that I think would be at a state level.               24 there other databases that the county could use
   25      Q. Is there any central database or              25 to gain information about the manufacturing,

                                                                                         66 (Pages 258 - 261)
                                           Veritext Legal Solutions
  www.veritext.com                                                                              888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1934-60 Filed: 07/22/19 7 of 10. PageID #: 99802


                                                 Page 306                                                Page 308
    1 they were intending to purchase and what they          1 fentanyl.
    2 got.                                                   2      Q. So before the cocaine doubled
    3      Q. How does the county define an                  3 between '15 and '16, that previous baseline
    4 epidemic?                                              4 level of cocaine abuse and death, do you
    5          MR. BADALA: Objection to form.                5 consider -- does the county consider the 2014
    6 Outside the scope.                                     6 level of cocaine abuse and use to be a crisis in
    7      A. With the standard definition, which            7 and of itself?
    8 is an elevated prevalence of a disease beyond          8         MR. BADALA: Objection to form.
    9 its baseline in a community.                           9 Outside the scope.
   10      Q. So when you were talking about                10      A. It's an area of concern. If you're
   11 cocaine and the doubling of deaths between, I         11 asking me is it a crisis because it's acutely
   12 think it was -- you said it was 2015 and 2016?        12 worsened, the answer to that is no.
   13      A. Right. Yes.                                   13      Q. So my question is if -- well, how
   14      Q. So do you consider that doubling a            14 many deaths were there in 2014 caused by
   15 cocaine epidemic?                                     15 cocaine?
   16          MR. BADALA: Objection to form.               16      A. I can check. 124.
   17 Outside the scope.                                    17      Q. Does Cuyahoga County consider 124
   18      A. No, for the reason that I am -- that          18 deaths to be a crisis?
   19 I mentioned, which is that when you factor out        19         MR. BADALA: Objection to form.
   20 the opioid contribution to that elevation, it's       20      A. I'm sorry. You know, we're not
   21 not at an increased incidence over baseline.          21 turning our back on these folks. All of these
   22      Q. Would you consider the number of              22 things are sad, that these people are dying, and
   23 deaths in 2016 where cocaine was adjudicated and      23 I think, you know, the overshadowing of this
   24 certified as the cause of death, is that a            24 crisis by heroin, fentanyl is just more tragic,
   25 crisis for Cuyahoga County?                           25 but if you're asking me are these folks any less
                                                 Page 307                                                Page 309
    1           MR. BADALA: Objection to form.          1 valuable or something, like no. That's not a
    2 Outside the scope.                                2 position. The county is concerned about all of
    3      A. I mean, we were in the midst of an        3 our citizens, and these 124 folks who died of a
    4 opioid crisis before that. Certainly there was    4 cocaine overdose are just as much, you know,
    5 an acute worsening in 2016 that was driven by -- 5 missed by their people as the hundreds who died
    6 primarily by fentanyl. That's the position of     6 of a fentanyl or heroin overdose.
    7 the county. The fact that cocaine was pulled      7      Q. So from the county's perspective,
    8 back up with that, heroin was pulled back up      8 the 124 deaths in 2014, the county would
    9 with that doesn't negate the contribution of      9 consider those to be a crisis for cocaine?
   10 fentanyl to that part of the crisis.             10          MR. BADALA: Objection to form.
   11      Q. So I'm trying to understand, with        11 Outside the scope.
   12 respect to cocaine specifically, does the county 12      A. I mean, as you use the term
   13 consider itself to be in the middle of a cocaine 13 "crisis," I think of that in terms of the
   14 crisis?                                          14 epidemic, and that is not part of the epidemic,
   15           MR. BADALA: Objection to form.         15 but it's a source of great concern. We don't
   16 Outside the scope.                               16 like to see our citizens die of any drug
   17      A. We're in the middle of a drug            17 overdose, but -- maybe we're parsing over words,
   18 crisis. I mean, is cocaine up from where it      18 but, you know, the crisis is really the opioids,
   19 was, yes, and I think the strategy is all of the 19 it's not the cocaine here, but that doesn't mean
   20 above with the drugs. But if you're asking me 20 that it's not a source of tremendous concern.
   21 is the elevation in cocaine significant relative 21      Q. What did Cuyahoga County do in 2014
   22 to the elevation of the opioids, I would say     22 or the years that followed to address the use
   23 that it's less, because what our data shows in   23 and abuse of cocaine that resulted in 124 deaths
   24 the mortality data is that the elevation in the  24 in 2014?
   25 cocaine is, unfortunately, being pulled up by    25      A. The county would have continued its
                                                                                          78 (Pages 306 - 309)
                                           Veritext Legal Solutions
  www.veritext.com                                                                               888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1934-60 Filed: 07/22/19 8 of 10. PageID #: 99803


                                                 Page 310                                               Page 312
    1 drug treatment services. The county would have         1      A. Again, you know, with what I've said
    2 made available things like the START program to        2 about crisis, I would say no, it hasn't really
    3 those parents. It wasn't like we exclusively,          3 escalated to the comparabilities of like being
    4 you know, excluded them. So we would connect           4 similar to heroin or, especially now, fentanyl.
    5 those parents with cocaine issues, with, you           5      Q. Has the county done everything in
    6 know, a mentor in recovery. The county would           6 its power to combat the abuse of the illegal
    7 have responded to separate families where there        7 drugs identified in topic 18?
    8 potentially was an issue that wasn't resolvable        8      A. I think the county has made
    9 with cocaine. I think the county, you know,            9 significant investments to do that. I think if
   10 continued its treatment efforts. Drug court           10 you ask me are there more things we wish we
   11 didn't shut cocaine people out. It's just that        11 could do, we do. But there's -- you know, as
   12 the docket became much more tilted towards            12 much as we can do, I really feel, especially our
   13 opioids.                                              13 models of collaboration, cooperation -- they're
   14      Q. Is that everything you can identify           14 national models now, and I do feel that this has
   15 sitting here today the county did in response to      15 really been a very exemplary response to this
   16 the cocaine use and abuse in 2014?                    16 crisis, both this one and the opioid crisis
   17      A. If I can look at our organizational           17 especially.
   18 chart again.                                          18      Q. You talked earlier in the day about
   19          During that time period, around              19 Mexican cartels and China with respect to
   20 2013, 2014, the sheriff's office instituted           20 illicit fentanyl. Do you recall that topic
   21 strike forces. They were supposed to supplement       21 generally?
   22 local law enforcement so that they could address      22      A. I remember mentioning China, and I
   23 any multitude of issues. So it could have been        23 think the person who was asking me at the time
   24 in part, you know, drug trafficking. Re-entry         24 mentioned Mexico, and that's part of the story I
   25 programs obviously were making efforts to             25 think as well.
                                                 Page 311                                               Page 313
    1 reintegrate cocaine addicts. Workforce                 1      Q. Do you agree that the importation of
    2 development. Prosecutions of drug dealers by           2 heroin and illicit fentanyl from other countries
    3 our county prosecutor. The creation of drug            3 into the county could be considered an act of
    4 court for the treatment of drug addicts in lieu        4 terrorism?
    5 of incarceration, provision of mental and              5          MR. BADALA: Objection to form.
    6 medical health services in the county jail.            6 Outside the scope.
    7     Q. Does the county --                              7          Which topic are we on?
    8     A. There's a lot of things --                      8          MR. CARTER: We're on 34.
    9     Q. I'm sorry.                                      9          MR. BADALA: If you could just
   10     A. I'm sorry. I just wanted to sort of            10 indicate that.
   11 close it.                                             11      A. I think I made that statement.
   12          This problem touches so many levels          12      Q. You've made that statement. I'm
   13 of our community, and I think, you know,              13 asking does the county agree with it.
   14 interventions for some of these things are not        14      A. I wouldn't want to necessarily put
   15 necessarily just we shut the door on everything       15 that as the county's position. It's a personal
   16 except the opioids. We're trying to deal with         16 opinion. I don't know that I have independent
   17 all of them, and I don't want to say that I           17 confirmation to say that.
   18 could be exhaustive. I think as I run through         18      Q. Okay. In terms of the drivers of
   19 our org chart, there's a lot of things I can see      19 the rapid increase in mortality in the county
   20 there.                                                20 from 2010 through to today, do you agree that
   21     Q. From the county's perspective, is              21 it's been heroin, illicit fentanyl, fentanyl
   22 the use and abuse of methamphetamine at crisis        22 analogs and cocaine since 2010?
   23 level?                                                23          MR. BADALA: Objection to form.
   24          MR. BADALA: Objection to form.               24      A. Sure. I mean, I think that, you
   25 Outside the scope.                                    25 know, you can look at this page from Exhibit 13,
                                                                                         79 (Pages 310 - 313)
                                           Veritext Legal Solutions
  www.veritext.com                                                                              888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1934-60 Filed: 07/22/19 9 of 10. PageID #: 99804


                                               Page 314                                              Page 316
    1 which goes up to 2012. Here's our crack          1     Q. Do you agree that a diagnosis of
    2 cocaine. There's our prescription opioids.       2 addiction is a medical task?
    3 Here's the heroin phase. And if you want to go 3           MR. BADALA: Objection to form.
    4 back to our own charts and graphs, the fentanyl 4      A. I mean, the addiction has a
    5 phase was even worse than the heroin escalation. 5 definition in medicine.
    6 The analogs of fentanyl that we saw,             6     Q. And there are physicians who provide
    7 carfentanil, the elephant tranquilizer, those    7 medical diagnoses of addiction, correct?
    8 other drugs, all caused significant rises in     8         MR. BADALA: Objection to form.
    9 mortality, and like the opioid pain relievers,   9 Outside the scope.
   10 heroin, fentanyl, they are illicit opioids that 10     A. I don't know if I would say
   11 act on the same mechanism in the brain that the 11 addiction versus substance use or abuse
   12 opioid pain relievers do.                       12 disorder. It's an area of medicine, the
   13      Q. So I think we're on the same page,      13 terminology of which I am not familiar and I
   14 but just to be clear then, from 2010 through to 14 would not think the county would have an opinion
   15 today the primary drivers of the increase in    15 on.
   16 mortality in the county have been heroin,       16     Q. Do you know whether there are ICD-10
   17 illicit fentanyl, fentanyl analogs and cocaine, 17 codes to define a substance use disorder?
   18 true?                                           18         MR. BADALA: Objection to form.
   19      A. Again, I'd have to put the caveat       19 Outside the scope.
   20 with cocaine that, by itself, it hasn't         20     A. ICD-10?
   21 dramatically changed, and that the changes that 21     Q. Yes.
   22 we see in cocaine can be reasonably attributed 22      A. I don't think the county knows that.
   23 to fentanyl, as can the changes after 2016 with 23 I don't know it myself.
   24 heroin, but heroin, in the time frame you       24     Q. Do you know what ICD codes refer to
   25 mentioned, is a significant game changer from 25 generally?
                                               Page 315                                              Page 317
    1 2012, 2011 onward.                                   1     A. Sure. Sure do. I do I should say.
    2     Q. I want to follow up on some                   2 The county may not, but the International
    3 questions on topic 19. You talked about the          3 Classification of Diseases. As their agent, I
    4 criteria. I'm not going to go through all that       4 would be able to inform them of that.
    5 again, but I want to focus on the criteria, the      5     Q. Do you agree that, from a medical
    6 third one you identified, people that have been      6 perspective, it's inappropriate to assume a use
    7 diagnosed with an opioid use disorder, okay?         7 disorder or an addiction, however you want to
    8          How does the county define an opioid        8 use that term -- you would need to look at an
    9 use disorder?                                        9 individual case, an individual resident story to
   10     A. The county identified that in                10 arrive at a conclusion of a use disorder or
   11 consultation with experts beyond what I'm           11 addiction, right?
   12 prepared to talk about today.                       12         MR. BADALA: Objection to form.
   13     Q. So sitting here today, can you give          13 Outside the scope.
   14 me a scientific or a layperson definition that      14     A. Yeah. That's a medical diagnosis
   15 the county used to define opioid use disorder or    15 again and I don't think the county would express
   16 did you defer to the experts on that?               16 anything about the appropriateness of
   17     A. I believe we deferred to the experts         17 misclassifying that.
   18 on that.                                            18     Q. So the county has never -- well, the
   19     Q. Related, does the county have an             19 county has never used its medical examiner data
   20 official working definition of addiction that it    20 or any other data set that it creates and
   21 used to identify individuals in response to         21 assigned classification of a use disorder or an
   22 Exhibit A and Exhibit B that are part of            22 addiction based on looking at that data set,
   23 Deposition Exhibit 2?                               23 correct? That's nothing the county has ever
   24     A. I'm not aware of a working                   24 done before?
   25 definition the county has for addiction.            25         MR. BADALA: Objection to form.
                                                                                       80 (Pages 314 - 317)
                                         Veritext Legal Solutions
  www.veritext.com                                                                            888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1934-60 Filed: 07/22/19 10 of 10. PageID #: 99805


                                                Page 318                                               Page 320
     1     A. The medical examiner data would not           1     Q. Are there people who have an opioid
     2 arrive at those diagnoses. The alcohol, drug         2 use disorder from prescription opioids who do
     3 addiction and mental health services of the          3 not go on to use illegal narcotics?
     4 county would arrive at diagnoses like that. The      4         MR. BADALA: Objection to form.
     5 hospital could arrive at diagnoses like that.        5 Outside the scope.
     6 Does the county itself, you know, oversee that       6         Which topic are we on?
     7 diagnosis? No.                                       7         MR. CARTER: Topic 19, "The criteria
     8     Q. You agree that all use -- substance           8 used to identify individuals who overdosed on,
     9 use disorders can be treated, correct?               9 or became addicted to, prescription opioids."
    10         MR. BADALA: Objection to form.              10         MR. BADALA: Objection to form.
    11 Outside the scope.                                  11 Outside the scope.
    12     A. That's a question outside my area of         12     A. Now you guys made me lose the
    13 expertise.                                          13 question.
    14     Q. So you do not know whether the               14     Q. Sure.
    15 county is able to treat substance use disorders     15         The question was, are there people
    16 for any substance they might classify?              16 who have an opioid use disorder from
    17         MR. BADALA: Objection to form.              17 prescription opioids who nonetheless do not go
    18 Outside the scope.                                  18 on to use illegal narcotics?
    19     A. As I understood your question, all           19         MR. BADALA: Same objections.
    20 substance use disorders being treatable, I don't    20     A. I think national data would support
    21 know that that's something that I could say the     21 that and probably local data, that there were
    22 county has an opinion on.                           22 people prescribed who did not go on to become
    23     Q. What about, does the county agree            23 addicted.
    24 that, with appropriate support, all addicted        24     Q. With respect to topic 19, has the
    25 individuals can make a recovery?                    25 county itself vetted or confirmed any individual
                                                Page 319                                               Page 321
     1          MR. BADALA: Objection to form.           1 diagnosis of an opioid use disorder?
     2 Outside the scope.                                2      A. That information was submitted to
     3     A. I think the county would like to           3 the experts for their interpretation. The
     4 give all those addicted individuals that          4 county did not independently vet those experts.
     5 opportunity. Whether or not they can recover      5 They were referred to our attorneys and they
     6 would be beyond really the scope of the county's 6 consulted with the experts.
     7 ability to predict that.                          7      Q. In connection with compiling the
     8     Q. Do you agree that there are a number       8 individuals identified on Exhibit A, did the
     9 of people who take prescription opioids and do 9 county conduct any interviews of those
    10 not develop an opioid use disorder?              10 individuals?
    11          MR. BADALA: Objection to form.          11      A. We identified claims data with the
    12 Outside the scope.                               12 criteria that I've mentioned, and that was
    13     A. Again, without having a definition        13 submitted through to our attorneys, and then
    14 of an opioid use disorder, I could only say that 14 they conferred with experts and responded to the
    15 the long-term use of opioids would be expected 15 interrogatories. To my knowledge, the county
    16 over time to create dependence on them and       16 did not conduct independent interviews after
    17 physical withdrawal symptoms when they were 17 that referral.
    18 removed. Whether that moves into addiction or 18         Q. After that information was referred
    19 not, I couldn't really say.                      19 to the attorneys and the experts, do you know if
    20     Q. Do you agree there are a number of        20 the attorneys or the experts interviewed the
    21 people who take prescription opioids and never 21 individuals listed on Exhibit 2, sub-Exhibit A?
    22 go on to break the law?                          22 It's the oversized printout.
    23          MR. BADALA: Objection to form.          23      A. It's the big one, right?
    24 Outside the scope.                               24      Q. Yes.
    25     A. I would sure hope so.                     25          MR. BADALA: And I would just
                                                                                        81 (Pages 318 - 321)
                                          Veritext Legal Solutions
   www.veritext.com                                                                            888-391-3376
